Case 1:07-cr-10200-DPW Document 208 Filed 03/05/09 Page 1 of 10
Case 1:07-cr-10200-DPW Document 208 Filed 03/05/09 Page 2 of 10
Case 1:07-cr-10200-DPW Document 208 Filed 03/05/09 Page 3 of 10
Case 1:07-cr-10200-DPW Document 208 Filed 03/05/09 Page 4 of 10
Case 1:07-cr-10200-DPW Document 208 Filed 03/05/09 Page 5 of 10
Case 1:07-cr-10200-DPW Document 208 Filed 03/05/09 Page 6 of 10
Case 1:07-cr-10200-DPW Document 208 Filed 03/05/09 Page 7 of 10
Case 1:07-cr-10200-DPW Document 208 Filed 03/05/09 Page 8 of 10
Case 1:07-cr-10200-DPW Document 208 Filed 03/05/09 Page 9 of 10
Case 1:07-cr-10200-DPW Document 208 Filed 03/05/09 Page 10 of 10
